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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                          Crim. No. 17-cr-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                 Defendant.


     GOVERNMENT’S RESPONSE TO DEFENDANT’S NOTICE REGARDING
   APPEARANCE ON DATE THAT JURY QUESTIONNAIRES ARE COMPLETED

       The United States of America, by and through Special Counsel Robert S. Mueller, III, files

this response to defendant Paul J. Manafort, Jr.’s notice (Doc. 387, 390) regarding his appearance

on the date that the Court will address the potential jurors who will be filling out a jury

questionnaire. In that notice, Manafort represents through counsel that, pursuant to a signed waiver

that he previously filed, “he does not wish to appear on the date that the jury questionnaires are to

completed.” Doc. 390.

       The government takes no position on whether Manafort’s presence should be required at

the jury-questionnaire proceeding or whether his waiver should be accepted. In an abundance of

caution, however, the government calls the Court’s attention to a D.C. Circuit decision—United

States v. Gordon, 829 F.2d 119 (D.C. Cir. 1987)—that may bear on the procedures that the Court

employs before accepting Manafort’s waiver. In Gordon, the court of appeals reversed a trial

court’s decision “permitting defense counsel to waive” the defendant’s “right to presence” during

jury selection. Id. at 125. The D.C. Circuit held that the trial “court should have held an on-the-

record hearing to advise [the defendant] of his right to be present at voir dire and obtained a

personal waiver in open court.” Id. An open-court waiver was “particularly warranted,” the court

of appeals said, “in cases . . . where the defendant is not out on bail, but remains in custody and

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readily available to the court.” Id.

        To be clear, Gordon differs in potentially significant ways from the facts of this case.

Gordon involved a waiver of a defendant’s presence for the entirety of voir dire, 829 F.2d at 125,

127, while Manafort would be waiving presence for a preliminary step in jury selection that might

not qualify as “jury impanelment” under Federal Rule of Criminal Procedure 43(a)(2). Further,

whereas Gordon involved a waiver through counsel, Manafort has personally signed a written

waiver, albeit one that does not by its terms evince awareness of the jury-questionnaire proceeding.

See Doc. 387 (stating the defendant’s desire “to appear in this case” starting with “jury selection

proceedings”). It is therefore far from clear that Gordon’s requirement of an open-court waiver

applies to this case.

        For these reasons, and as stated above, the government takes no position on whether

Manafort’s waiver of presence for the jury-questionnaire proceeding should be accepted. But if

the Court believes that circuit precedent requires an open-court waiver, the government submits

that the Court should elicit such a waiver in advance of that proceeding. In the alternative, the

Court may wish to require that Manafort personally sign a document acknowledging his right to

be present at the jury-questionnaire proceeding and waiving that right.

                                              Respectfully submitted,

                                              ROBERT S. MUELLER, III
                                              Special Counsel

Dated: August 29, 2018                 By:    _/s/ Andrew Weissmann________________
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